                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                           5:05CV213-V-02
                             (5:03CR6-V)



BAXTER SMITH JAMES,       )
     Petitioner,          )
                          )
       v.                 )                   ORDER
                          )
UNITED STATES OF AMERICA, )
     Respondent.          )
__________________________)

     THIS MATTER comes before the Court the petitioner’s “Motion

To Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C. §2255,

filed June 20, 2005.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     According to the record, on January 29, 2003, the petitioner

was named in a Bill of Indictment which charged him (along with

two others) with conspiracy to possess with intent to distribute

at least 100 grams of methamphetamine, in violation of 21 U.S.C.

§§841(a)(1) and 846 (Count One).

     On July 23, 2003, the petitioner entered into a written Plea

Agreement with the government by which he agreed to tender a

guilty plea to the subject charge.      To that end, on September 9,

2003, the Court held a Plea & Rule 11 Hearing, during which the

petitioner tendered his guilty plea.        At the conclusion of that

Hearing, the Court conditionally accepted the petitioner’s plea.




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      Thereafter, on December 6, 2004, the Court conducted a

Factual Basis & Sentencing Hearing in this matter.             After hearing

from counsel for the parties, the Court announced its sentence.

In particular, the Court announced a sentence of 70 months

imprisonment under the U.S. Sentencing Guidelines.             In addition,

however, the Court announced an “alternative, provisional” sen-

tence of 18 months imprisonment.          The Court explained that such

provisional sentence was premised upon “the same reasons as those

articulated with respect to the Guidelines sentence, including

the relevant factors within 18 U.S.C. §3553.”            The Court further

explained that it was announcing the provisional sentence “[i]n

light of the Supreme Court’s decision in Blakely v. Washington

542 U.S. 296, (2004),1 and as expressly directed by the Fourth

Circuit Court of Appeals . . . [in] United States v. Hammoud, 381

F.3d 316, 353-54 (4th Cir. 2004) (en banc).”          The Judgment form

evidencing the petitioner’s conviction and sentence was filed on

January 6, 2005.

      On January 12, 2005, the U.S. Supreme Court announced its

decision in United States v. Booker/Fanfan, 125 S.Ct. 738 (2005).

As was anticipated by many, in Booker/Fanfan, the Supreme Court

announced both that its ruling in Blakely was applicable to



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       In Blakely, the Supreme Court invalidated a State court’s practice of
using judge-made findings in the calculation of defendants’ sentences, and
expressly held that for Apprendi purposes, the statutory maximum term is the
“maximum sentence the judge may impose solely on the basis of the facts
reflected in the jury verdict or admitted by the defendant.”

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federal cases and, equally critically, that the mandatory pro-

visions of the Guidelines are invalid to the extent they permit

judges to rely upon uncharged, judge-found facts in the calcula-

tion of defendants’ sentences.

     Notwithstanding such a significant decision, the peti-

tioner’s former trial counsel did not file a direct appeal in

order to ensure that the Court’s provisional sentence would take

effect.     Thus, on April 7, 2005, the petitioner wrote to the

Court and asked that the Court enter an order to clarify the fact

that his 18-month sentence was to have immediately taken effect

upon the announcement of the Booker/Fanfan decision.             In the

alternative, the petitioner asked the Court to issue an amended

Judgment which would state only the 18-month provisional sentence

as his actual sentence.       In response, the undersigned’s law clerk

wrote the petitioner and informed him, while the Court could not

provide him with any legal advice, that he should consider filing

a motion to vacate in which he could raise a claim of ineffective

assistance of counsel due to his attorney’s failure to appeal his

sentence.

     Accordingly, on June 20, 2005, the petitioner filed the

instant Motion to Vacate, essentially seeking to activate the 18-

month provisional sentence which the Court previously announced.

Now, after having reviewed that Motion along with the peti-

tioner’s letter of inquiry, and the relevant legal precedent, the


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Court concludes, out of an abundance of caution, that such Motion

to Vacate should be granted, but only for the purpose of allowing

the petitioner to pursue a direct appeal of his sentence.

                              II.   ANALYSIS

     The petitioner’s documents, liberally construed, set forth a

claim that counsel failed to consult with him concerning his

desires about an appeal; and that the petitioner actually did

want to pursue an appeal of his sentence.         As such, the

petitioner’s claims are controlled by the United States Supreme

Court’s decision in Roe v. Flores-Ortega, 528 U.S. 470 (2000).

     In Roe, the Supreme Court stated that although there is no

per se requirement that counsel do so, “the better practice is

for counsel routinely to consult with the defendant about an

appeal.”   Id. at 479.   In this instance, consult means to advise

the defendant of the advantages and disadvantages of an appeal

and to make “a reasonable effort to discover the defendant’s

wishes.”   Id. at 477-78.

     Thus, in cases where the defendant has neither asked counsel

to appeal nor directed counsel not to appeal, and counsel has not

consulted with the defendant regarding his appellate rights,

counsel’s failure to consult will be deemed deficient in either

of two circumstances.    That is, counsel’s failure to consult will

be deemed deficient “when there is reason to think either (1)

that a rational defendant would want to appeal . . . , or (2)


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that this particular defendant reasonably demonstrated to counsel

that he was interested in appealing.”          Id. at 480.     The Supreme

Court further stated that in making this determination, a court

must consider all relevant factors which are before it.

     In the instant case, the record reflects that the Court

announced a 70-month sentence under the Guidelines, and a

drastically lower 18-month alternative, provisional sentence.                As

reflected on the Judgment form, the Court’s alternative sentence

was imposed “in the event the Federal Sentencing Guidelines are

ultimately invalidated by final action of the U.S. Supreme Court

. . . .”   Thus, inasmuch as the Booker/Fanfan decision did, in

fact, invalidate the use of the Sentencing Guidelines under the

circumstances which were here employed in the calculation of the

petitioner’s 70-month sentence, former defense counsel had reason

to know that the petitioner would have wanted to take whatever

measures were necessary, including the pursuit of an appeal, in

order to obtain the lower sentence.          Unfortunately, however,

counsel did not discuss this option with the petitioner; there-

fore, the petitioner never was afforded an opportunity to express

his desire for an appeal.

     In deference to former counsel, the Court believes it is

likely that counsel presumed that the petitioner’s 18-month

provisional sentence would be self-executing based upon the

Booker/Fanfan decision.       However, in the absence of some legal


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precedent to support that proposition, counsel’s incorrect

presumption was quite costly to his client.           In any event, on

this record, the Court has no choice but to find that defense

counsel was deficient for having failed to consult with the

petitioner regarding his appellate rights and options.

      Moreover, based upon the foregoing, there also is a more

than reasonable probability that but for counsels’ failure to

consult with the petitioner, the petitioner would have insisted

upon the timely filing of an appeal in his case.               Thus, the Court

also must find that the petitioner has demonstrated that he was

prejudiced by his attorneys’ failure to consult with him about

his appellate rights because counsel’s failure resulted in the

loss of his appeal.2     Roe, 528 U.S. at 484.

      Ultimately, in light of Roe, this Court concludes that the

petitioner’s Motion to Vacate must be granted.            That is, in cases

such as this one, the prescribed remedy is to vacate the original

Judgment and enter a new Judgment from which an appeal can be

taken.    See Evitts v. Lucey, 469 U.S. 387 (1985) (finding the

defendant entitled to a new appeal when counsel’s failure to

comply with mechanistic local court rules led to the dismissal of



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       The Court is aware that the petitioner’s Plea Agreement contained a
waiver clause, precluding his ability to directly appeal his case. However,
such provision does not excuse counsel’s failure to discuss an appeal with the
petitioner, particularly since the government might not have sought to enforce
such waiver in order to ensure that the Court’s intentions were realized, or
the Court of Appeals might have found the waiver unenforceable for that same
reason.

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his first appeal).       Thus, the Court will vacate its Judgment so

that the petitioner may appeal his sentence.

                     III.   NOTICE OF APPELLATE RIGHTS

     Mr. James, you are hereby advised that you have an absolute

right to appeal your criminal case and any issues in it to the

Fourth Circuit Court of Appeals.            If you decide to do that, you

will have to file a Notice of Appeal with the Clerk of this

District Court within 10 days after the day your new Judgment of

conviction is filed with this Court, or within 10 days after any

Government appeal is filed with this Court, whichever day comes

later.     The Clerk will assist you in preparing your Notice of

Appeal if you so request.

     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to

proceed on appeal without prepayment of the applicable filing

fees.     You should discuss the question of appeal with your

attorney, if you have one, but whatever he or she may tell you,

the responsibility for filing the Notice of Appeal remains with

you, and you must file such Notice within the aforementioned 10-

day period in order to make it effective.

                                  IV.   ORDER

     NOW THEREFORE, IT IS HEREBY ORDERED:

     1.     That the petitioner’s Motion to Vacate is GRANTED;


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     2.   That the petitioner’s original Judgment is VACATED;

     3.   That the Clerk is directed to prepare a new Judgment for

the petitioner, imposing the same sentences and conditions as

were imposed by the original Judgment form;

     4.   That the petitioner may appeal from his new Judgment as

has been explained in this Order.

     5.   That the Clerk shall send copies of this Order to the

petitioner and to the United States Attorney for the Western

District of North Carolina.

     SO ORDERED.




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                  Signed: August 12, 2005




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